 Case: 4:09-cr-00601-HEA        Doc. #: 153 Filed: 03/01/10         Page: 1 of 1 PageID #:
                                           297



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
              Plaintiff,                    )
                                            )
v.                                          )     No. 4:09CR601 HEA
                                            )
CURTIS WAYNE SMITH,                         )
                                            )
              Defendant.                    )

                                            ORDER

       IT IS HEREBY ORDERED that a change of plea hearing is set in this matter for

Monday, March 8, 2010, at 12:00 p.m. in the courtroom of the undersigned.

       Dated this 1st day of March, 2010.




                                            ________________________________
                                               HENRY EDWARD AUTREY
                                             UNITED STATES DISTRICT JUDGE
